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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HESAI TECHNOLOGY CO., LTD, et al., )
                                     )
                  Plaintiffs,        )
                                     )
            v.                       )  Civil Action No. 1:24-cv-01381
                                     )
U.S. DEP’T OF DEFENSE, et al.,       )
                                     )
                  Defendants.        )
____________________________________)




              DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
    MOTION TO COMPLETE OR, IN THE ALTERNATIVE, SUPPLEMENT THE
                    ADMINISTRATIVE RECORD




                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     LAUREN A. WETZLER
                                     Deputy Director, Federal Programs Branch

                                     STEPHEN M. ELLIOTT (PA Bar# 203986)
                                     Senior Trial Counsel
                                     United States Department of Justice
                                     Civil Division, Federal Programs Branch
                                     1100 L St. NW
                                     Washington, D.C. 20005
                                     Tel: (202) 353-0889 Fax: (202) 616-8470
                                     E-mail: stephen.m.elliott@usdoj.gov

                                     Counsel for Defendants
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                                       INTRODUCTION

       On January 18, 2024, the Deputy Secretary of Defense notified Congress that the

Department of Defense (“DoD”) identified, among others, Hesai Technology Co., LTD, which is

part of the Hesai Group (“Hesai” or “Plaintiffs”), as a “Chinese military company” pursuant to

Section 1260H of the National Defense Authorization Act for Fiscal Year 2021 (“Section 1260H

List” or “the List”). On January 31, 2024, DoD issued a press release identifying for the public

the companies it had placed on the List. Plaintiffs administratively challenged DoD’s decision and

later initiated this lawsuit, acknowledging in the Complaint that the January 2024 identification

constitutes a final agency action. But Plaintiffs now allege that DoD’s January 2024 decision was

“tentative” or “interlocutory,” seeking to add materials to the administrative record that were not

considered directly or indirectly by the Deputy Secretary. It strains credulity that DoD would

notify Congress that it placed Hesai on the Section 1260H List and issue a press release to that

effect when, in fact, the decision had not yet been made. Accordingly, the Court should reject

Plaintiffs’ attempt to expand the administrative record.

       Plaintiffs primarily advance two unavailing arguments as to why their reconsideration

package—submitted to DoD in March 2024—should be a part of the administrative record. First,

Plaintiffs contend that the formal publication of the Section 1260H List in the Federal Register,

which occurred after Hesai made its submission, constitutes the “final agency action” for purposes

of their Administrative Procedure Act (“APA”) claims. But when Plaintiffs filed the Complaint in

May 2024, they were well aware that DoD published the Federal Register Notice (“FRN”) in April

2024, and yet they still alleged in the Complaint that the January 2024 decision constituted a final

agency action. Regardless, the FRN merely constitutes the formal publication of the determination

to place Hesai on the Section1260H List that was made in January 2024; it does not change the
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date that the decision was consummated. Second, Plaintiffs assert that their administrative

reconsideration package should be included in the record because DoD has failed to reach a timely

decision on Hesai’s request for reconsideration. Plaintiffs’ circular argument lacks merit. While

Plaintiffs have asked DoD to reconsider its decision placing Hesai on the Section 1260H List, no

decision has yet been made about whether to retain Hesai on the List. If DoD ultimately decides

to keep Hesai on the Section 1260H List, Plaintiffs may challenge that decision, at which point

their March 2023 submission will undoubtedly be included in any administrative record

challenging what amounts to a separate final agency action.

       Alternatively, Plaintiffs ask the Court to supplement the administrative record with their

March 2024 reconsideration package that was, by their own admission, not considered by the

Deputy Secretary. Plaintiffs, however, have failed to establish the “exceptional” or “unusual”

circumstances that may, in rare instances, warrant supplementation of the record.         Indeed,

Plaintiffs’ March 2024 submission does not provide “background” information that is needed for

the Court to assess whether DoD considered all relevant factors. Rather, Plaintiffs merely deny

that they have any affiliation with the Chinese government, the People’s Liberation Army, or any

other organization subordinate to the Central Military Commission of the Chinese Communist

Party. And the declaration Hesai alleges should supplement the administrative record is devoid of

complicated technological details that may assist the Court, focusing instead on alleged corporate

espionage and misinformation campaigns.

       For these reasons, as further discussed below, the Court should deny Plaintiffs’ Motion to

Complete, or in the Alternative, Supplement the Administrative Record.




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                                         BACKGROUND

I.     The William M. (“Mac”) Thornberry National Defense Authorization Act for Fiscal
       Year 2021

       The William M. (“Mac”) Thornberry National Defense Authorization Act for Fiscal Year

2021, Pub. L. No. 116-283, 134 Stat. 3388 (2021) provides for the identification of “each entity

the Secretary [of Defense] determines, based on the most recent information available, is operating

directly or indirectly in the United States . . . that is a Chinese military company.” Section

1260H(a). Congress went on to delineate that “Chinese military company” includes those entities

“identified as a military-civil fusion contributor to the Chinese defense industrial base . . . engaged

in providing commercial services, manufacturing, producing, or exporting.” Id. § 1260H(d)(1)(B).

And Congress defined “military-civil fusion contributor” as, in relevant part, “[e]ntities affiliated

with the Chinese Ministry of Industry and Information technology, including research partnerships

and projects.” Id. § 1260H(d)(2)(B).

II.    Hesai Listing and Subsequent Submissions from Plaintiffs

       On January 18, 2024, the Deputy Secretary of Defense notified Congress that DoD had

identified Hesai, among others, on the Section 1260(H) List for 2023. See Exh. 1, Excerpts from

Re-Certified Admin. Record, A.R. 1-6; see also Press Release, U.S. Department of Defense, DOD

Releases List of People’s Republic of China (PRC) Military Companies in Accordance With

Section 1260H of the National Defense Authorization Act for Fiscal Year 2021 (Jan. 31, 2024),

https://www.defense.gov/News/Releases/Release/Article/3661985/dod-releases-list-of-

peoplesrepublic-of-china-prc-military-companies-in-accord/. In the accompanying press release,

DoD explained that “[u]pdating the Section 1260H list of ‘Chinese military companies’ is an

important continuing effort in highlighting and countering the PRC’s Military-Civil Fusion




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strategy. The PRC’s Military-Civil Fusion strategy supports the modernization goals of the

People's Liberation Army (PLA)[.]” Id.

       Plaintiffs subsequently filed a Freedom of Information Act (“FOIA”) request on March 13,

2024. See Exh. 2. The FOIA request sought:

       The decision memorandum or other document finalizing the Department’s decision to
       include Hesai on the list of “Entities Identified as Chinese Military Companies Operating
       in the United States in accordance with Section 1260H of the William M. (‘Mac’)
       Thornberry National Defense Authorization Act for Fiscal Year 2021 (Public Law 116-
       283).”

Id.
       DoD issued its response on May 29, 2024. See Exh. 3. Consistent with Plaintiffs’ request,

DoD provided the official report supporting Hesai’s inclusion on the 1260H List, dated November

2, 2023. Id. The FOIA release struck out “draft” and “pre-decisional” markings on the report that

had initially been applied during the agency’s decision-making process. See id.

       On March 8, 2024, Plaintiffs submitted a package of materials in support of their request

that DoD reconsider Hesai’s inclusion on the 1260H List, including the Declaration of David Yifan

Li, the Chief Executive Officer of Hesai Technology. See Decl. of James Tysse, ECF No. 16-1.

Specifically, Plaintiffs challenged DoD’s “erroneous January 31, 2024 inclusion of Hesai” on the

1260H List and demanded “prompt removal from the List.” Id. Exh. A at 1. Challenging “Hesai’s

improper designation as a ‘Chinese Military Company,’” Plaintiffs requested, inter alia, that DoD

“immediately provide to Hesai whatever information it relied on in placing the company on the

List.” Id. at 7. Further, Mr. Li alleged in his declaration, among other things, that “[t]he

commercially driven smear campaign by Hesai’s competitors has resulted in [] misinformation in

the public record.” Id. Exh. B ¶ 25.




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III.   Initiation of Litigation

       On May 13, 2024, Plaintiffs initiated this lawsuit, challenging the determination by DoD

to identify Plaintiffs as a Chinese military company in accordance with Section 1260H. See

Compl., ECF No. 1. Plaintiffs specifically allege that DoD’s determination to identify Hesai on

the List in January 2024 “constitutes ‘final agency action’ subject to judicial review because it

consummates the agency’s decision-making process with respect to Hesai’s placement on the

1260H List.” Id. ¶ 100. Plaintiffs’ claims are brought primarily pursuant to the Administrative

Procedure Act (“APA”).

       After the start of the litigation, the parties proposed a joint summary judgment briefing

schedule, which the Court adopted. See Joint Mot. for Summ. J. Briefing Schedule, ECF No. 12.

The Court ordered, inter alia, that Defendants file the certified list of the contents of the

administrative record by June 21, 2024, and Plaintiffs file their motion for summary judgment by

July 3, 2024. See Scheduling Order, ECF No. 13.

IV.    The Certified Administrative Record

       Pursuant to the Court’s order, Defendants filed the certified list of the contents of the

administrative record and transmitted to Plaintiffs the administrative record on June 21, 2024. See

Notice, ECF No. 15. In so doing, DoD certified that “to the best of [the certifier’s] knowledge . .

. the documents described in the attached certified list of the contents of the administrative record

constitute a true, correct, and complete copy of the documents that were directly or indirectly

considered in connection with DoD’s decision to identify Plaintiffs on the Section 1260H list.”

Certificate of Admin. Record, ECF No. 15-1.

       DoD, however, subsequently learned that an inadvertent administrative error occurred

when assembling the initial version of the administrative record. See Exh. 4, Decl. of Libbi



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Finelsen (“Finelsen Decl.”). Specifically, the Deputy Secretary of Defense reviewed the report

dated November 2, 2023, when finalizing DoD’s decision to place Hesai on the Section 1260H

List. Id. ¶ 2. But the initial version of the administrative record included a later version of the

report dated February 9, 2024. Id. ¶ 3. The February 9, 2024 version of the report was “generated

as the first step in DoD’s statutorily mandated annual review in 2024 to determine whether entities

who currently appear on the 2023 list should be removed from the 2024 list.” 1 Id. “The February

2024 report was not part of the decision-making process for the 2023 list and has not been

presented to the Deputy Secretary of Defense.” Id. As a result, DoD filed a re-certified list of the

contents of the administrative record and submitted to Plaintiffs a revised administrative record

replacing the February 9, 2024 version of the Hesai report with the November 2, 2023 version of

the report. See Re-Certification. of Admin. Record, ECF No. 18-1.

                                      LEGAL STARDARD

       The APA provides that, in determining whether an agency decision is arbitrary or capricious

or whether an agency action has been unlawfully withheld or unreasonably delayed, courts should

“review the whole record or those parts of it cited by a party[.]” 5 U.S.C. § 706. “The task of the

reviewing court is to apply the appropriate APA standard of review . . . to the agency decision

based on the record the agency presents to the reviewing court.” Fla. Power & Light Co. v. Lorion,

470 U.S. 729, 743-44 (1985) (citation omitted); see also Camp v. Pitts, 411 U.S. 138, 142 (1973)

(per curiam) (noting that the “focal point for judicial review should be the administrative record

already in existence, not some new record made initially in the reviewing court”).




       1
         The two versions of the report are substantively identical, and therefore, this inadvertent
administrative mistake will not affect the current summary judgment briefing schedule. See
Finelsen Decl. ¶ 4.
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       The Courts in this Circuit have “‘interpreted the ‘whole record’ to include all documents

and materials that the agency directly or indirectly considered . . . and nothing more nor less.’”

Cayuga Nation v. Zinke, 302 F. Supp. 3d 352, 357 (D.D.C. 2018) (quoting Pac. Shores Subdivision,

Cal. Water Dist. v. U.S. Army Corps of Eng’rs, 448 F. Supp. 2d 1, 4 (D.D.C. 2006)).. “[M]aterials

that were not considered by agency decisionmakers . . . should not [be] include[d].” Id. (citation

omitted). Accordingly, “[a]n agency’s [mere] possession of certain records . . . is not sufficient to

show that the same records were considered by the agency in connection with a decision subject

to an APA challenge and, consequently, mere possession triggers no requirement to include such

records in the administrative record.” Stand Up for California! v. U.S. Dep’t of Interior, 71 F.

Supp. 3d 109, 117 (D.D.C. 2014).

       “‘[T]he designation of the Administrative Record, like any established administrative

procedure, is entitled to a presumption of administrative regularity.”’ Oceana, Inc. v. Ross, 920

F.3d 855, 865 (D.C. Cir. 2019) (quoting Bar MK Ranches v. Yuetter, 994 F.2d 735, 740 (10th Cir.

1993)). This strong presumption “derives from a commonsense understanding of the court’s

functional role in the administrative state[:] Were courts cavalierly to supplement the record, they

would be tempted to second-guess agency decisions in the belief that they were better informed

than the administrators empowered by Congress and appointed by the President.” Amfac Resorts,

L.L.C. v. U.S. Dep’t of Interior, 143 F. Supp. 2d 7, 11 (D.D.C. 2001) (citation omitted).

Consequently, “[c]ommon sense dictates that the agency determines what constitutes the whole

administrative record, because it is the agency that did the considering, and that therefore is in a

position to indicate initially which of the materials were before it—namely, were directly or

indirectly considered.” Pac. Shores, 448 F. Supp. 2d at 5 (citation omitted).




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                                           ARGUMENT

I.     Defendants Provided Plaintiffs a Complete Administrative Record

       A.      The Administrative Record Contains All Documents Considered Directly or
               Indirectly by the Decision-Maker

       Defendants have put forth an administrative record that contains all of the materials that

were directly or indirectly relied upon by the Deputy Secretary of Defense when deciding to

include Hesai on the Section 1260H List. See Cayuga Nation, 302 F. Supp. 3d at 357; see also

Re-Certification. of Admin Record ¶ 5 (“I hereby certify . . . that the documents in the attached

revised administrative record . . . constitute a true, correct, and complete copy of the documents

that were directly or indirectly considered in connection with DoD’s decision to identify Plaintiffs

on the Section 1260H list.”). The Deputy Secretary specifically considered the Hesai 1260H

report, dated November 2, 2023, as well as the documentation cited within the report. See Re-

Certified List of the Contents of the Admin. Record, ECF No. 18-2. Given the presumption of

regularity applicable in this case, the Court would be well within its authority to end its inquiry

here. See Oceana, Inc., 920 F.3d at 856.

       The inadvertent administrative error that occurred during the finalization of the initial

version of the administrative record does not undermine this presumption of regularity or warrant

expanding the record to include materials that were not relied upon by the decision-maker. See

Finelsen Decl. Defendants acknowledge that the original version of the administrative record

mistakenly included a later version of the report dated February 9, 2024, which DoD generated

during its ongoing review of Hesai. Id. ¶ 3. This version of the report “was not part of the decision-

making process for the 2023 list and has not been presented to the Deputy Secretary of Defense.”

Id. The Deputy Secretary of Defense reviewed the November 2, 2023 version of the Hesai report

when reaching DoD’s final decision about the composition of the Section 1260H List. Id. ¶ 2.

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Accordingly, the November 2, 2023 version of the Hesai report should have originally been a part

of the administrative record. Id. ¶¶ 2-3. Notably, however, the February 9, 2024 version of the

report is substantively identical to the November 2, 2023 version and pre-dates Plaintiffs’ March

2024 submission. Id. ¶ 4. Regardless, this inadvertent error has since been remedied by replacing

the February 9, 2024 report with the November 2, 2023 report in the revised administrative record.

See Re-Certification of Admin. Record.       Defendants apologize for any inconvenience this

unintended clerical mistake caused the Court or Plaintiffs.

       Regardless of this unintentional error, Plaintiffs have been fully aware of the contents of

the operative version of the Hesai Report.      Plaintiffs requested, via FOIA, “[t]he decision

memorandum or other document finalizing the Department’s decision to include Hesai on the

[Section 1260H List].” Exh. 2. In response, DoD provided the Hesai report dated November 2,

2023, with the “draft” and “pre-decisional” markings struck, see Exh. 3—unequivocal

confirmation that the Deputy Secretary considered the November 2, 2023 Hesai report when

making DoD’s final determination to place Hesai on the Section 1260H List.

       B.      Plaintiffs Have Not Met Their Burden of Demonstrating that Their March
               2024 Submission Should be Included in the Administrative Record

       A party may seek to include “evidence that should have been properly a part of the

administrative record but was excluded by the agency.” Univ. of Colo. Health at Mem’l Hosp. v.

Burwell, 151 F. Supp. 3d 1, 13 (D.D.C. 2015) (citation omitted) (“completion” or “correction” of

the administrative record). In order to overcome the strong presumption of regularity, a plaintiff

must “put forth concrete evidence that the documents it seeks to ‘add’ to the record were actually

before the decisionmakers.” Id. (citation omitted). In other words, this test requires that the

movant must go “beyond [a] description and the date of the proffered exhibits,” and “describe

when the [omitted] documents were presented to the agency, to whom, and under what context.”

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Comm. of 100 on the Fed. City v. Foxx, 140 F. Supp. 3d 54, 59 (D.D.C. 2015) (citations omitted).

“Then, [p]laintiffs must [separately] offer reasonable, non-speculative grounds for their belief that

the [requested] documents were directly or indirectly considered by the [agency].” Id. (emphasis

in original) (citation omitted).

                1.      The Timing of the FRN Does Not Justify Expanding the Administrative
                        Record to Include the March 2024 Submission

        Plaintiffs contend that the FRN published in April 2024 constitutes the final agency action,

and thus their March 2024 reconsideration package must have been considered by the decision-

maker, at least indirectly. 2 See Pls.’ Mot. to Complete (“Pls.’ Mot.”) at 4-7, ECF No. 16. But

Plaintiffs knew when they initiated this lawsuit that the FRN was published in April 2024, yet they

allege in the Complaint that “[t]he January 31, 2024 listing constitutes ‘final agency action’ subject

to judicial review because it consummates the agency’s decision-making process with respect to

Hesai’s placement on the 1260H List.” Compl. ¶ 100. Plaintiffs cannot have it both ways.

        In any event, the actual text of Section 1260H does not support Plaintiffs’ argument. The

statute provides that “[c]oncurrent with the submission of each 1260H list [to the relevant

congressional committees], the Secretary shall publish the unclassified portion of such list in the

Federal Register.” Section 1260H(b)(2). This provision, therefore, demonstrates that the FRN is

necessary only after the final decision on the substance of the Section 1260H List has been

submitted to Congress, which, in this case, occurred in January 2024. See Exh. 1 at 1-6. While



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          Plaintiffs cite American Petroleum Inst. v. EPA, 216 F.3d 50, 68 (D.C. Cir. 2000), for the
unremarkable proposition that “publication or lack thereof” of an agency action in the Federal
Register can help the reviewing court determine whether a final agency action has occurred for
purposes of APA review. See Pls.’ Mot. at 5. Here, however, the parties do not dispute that DoD’s
Section 1260H determination with regard to Hesai constituted a final agency action; the parties
dispute when DoD made the determination. Defendants have demonstrated that the decision was
made by the Deputy Secretary of Defense, conveyed to Congress, and disseminated to the public
via a press release in January 2024.
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Section 1260H requires the decision to be published in the Federal Register, this act just formally

announces the decision to the general public—it does not constitute the final agency action that

was consummated in January 2024.

       Any delay in publishing the FRN constitutes, at best, harmless error. See PDK Lab’ys Inc.

v. U.S. D.E.A., 362 F.3d 786, 799 (D.C. Cir. 2004) (“In administrative law, as in federal civil and

criminal litigation, there is a harmless error rule[.]”). Multiple offices within DoD must review

proposed Federal Register notices, and during the relevant time period, one critical component—

the Office of the Under Secretary of Defense for Acquisition and Sustainment—“was in the middle

of a team turnover, resulting in the office being short staffed.” Finelsen Decl. ¶¶ 6-7. Indeed, the

“team email inbox to which the Federal Register notice was sent swelled to over 200 emails with

up to 60 new emails arriving daily.” Id. ¶ 7. This office also had other competing responsibilities,

such as Posture Hearings before the Senate and House Committees on Armed Services. Id. “As a

result of these staffing and workload problems, the review process took an extended period, which

delayed publication.” Id. Thus, the delay can best be described as harmless error, especially given

that DoD publicly announced the Section 1260H List via press release in January 2024. See Press

Release, U.S. Department of Defense.

               2.      Plaintiffs’ Unreasonable Delay Claim Does Not Justify Expanding the
                       Administrative Record to Include the March 2024 Submission

       Plaintiffs’ argument that their APA unreasonable delay claim warrants the inclusion of

Hesai’s March 2024 reconsideration package fares no better. See Pls.’ Mot. at 7-8. The APA

provides that the Court shall “compel agency action unlawfully withheld or unreasonably

delayed[.]” 5 U.S.C. § 706(1). As courts have repeatedly recognized, “[n]othing in the [APA’s]

statutory text distinguishes the scope of record review based on whether the claim is directed at

agency action or inaction. And nowhere does the text even hint at extra-record review occurring

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as a matter of course when agency action is alleged to be ‘unlawfully withheld or unreasonably

delayed.”’ Dallas Safari Club v. Bernhardt, 518 F. Supp. 3d 535, 539 (D.D.C. 2021) (quoting 5

U.S.C. § 706, and collecting cases). As discussed above, the revised administrative record contains

all materials considered directly or indirectly by the decision-maker—under binding precedent

nothing more is required when an agency faces an unreasonable delay claim.

       Regardless, Plaintiffs’ unreasonable delay claim is a legal challenge to DoD’s supposed

failure to timely reconsider Hesai’s placement on the Section 1260H List. See Compl. ¶¶ 121-25.

Such a challenge does not require additional documentation because, by its very nature, a decision

has not been made. Indeed, even if the Court were to ultimately agree with Plaintiffs, the Court

could merely instruct DoD to reach a decision on the pending reconsideration request—it could

not opine on the merits of the reconsideration request. See Norton v. S. Utah Wilderness All., 542

U.S. 55, 65 (2004) (“[W]hen an agency is compelled by law to act within a certain time period . .

. a court can compel the agency to act, but has no power to specify what the action must be.”).

DoD has, by statute, an “ongoing” obligation to assess whether to keep Hesai on the List, and that

is precisely what it is doing. See Section 1260H(b)(3). If DoD ultimately decides to retain Hesai

on the List, Plaintiffs may challenge that separate agency action, and the materials submitted by

Hesai in March 2024 will be included in the administrative record.

II.    Plaintiffs Have Not Established the Exceptional or Unusual Circumstances that
       Could Warrant Supplementation of the Record with Materials Not Considered by the
       DoD Decision-Maker

       Supplementation of the administrative record is appropriate only in “exceptional or

‘unusual’ circumstances.” Veloxis Pharms., Inc. v. U.S. FDA, 109 F. Supp. 3d 104, 124 (D.D.C.

2018) (quoting City of Dania Beach v. FAA, 628 F.3d 581, 590 (D.C. Cir. 2010)). “[T]here is a

strong presumption that the agency properly compiled the administrative record.” Id. (citation



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omitted); see Pac. Shores, 448 F. Supp. 2d at 5 (citation omitted) (concluding that because of the

strong presumption of regularity “[s]upplementation of the administrative record is the exception,

not the rule”)); see also The Cape Hatteras Access Pres. All. v. U.S. Dep’t of Interior, 667 F. Supp.

2d 111, 112 (D.D.C. 2009) (“A court that orders an administrative agency to supplement the record

of its decision is a rare bird.”). In the D.C. Circuit, there are three “unusual circumstances” that

can warrant modification of the certified record: “(1) if the agency deliberately or negligently

excluded documents that may have been adverse to its decision; (2) if background information was

needed to determine whether the agency considered all relevant factors; or (3) if the agency failed

to explain administrative action so as to frustrate judicial review.” City of Dania Beach, 628 F.3d

at 590 (citation omitted); accord Oceana, Inc. v. Pritzker, 126 F. Supp. 3d 110, 113 (D.D.C. 2015).

Plaintiffs acknowledge that only the second and third circumstances are even arguably relevant,

see Pls.’ Mot. at 8, neither of which are present in this case.

       Plaintiffs’ argument that the March 2024 submission constitutes “background information”

falls flat. See Pls.’ Mot. at 8-9. Plaintiffs cite, as an example, their declarant’s statement that

“[n]either the Chinese government, the People’s Liberation Army, nor any other organization

subordinate to the Central Military Commission of the Chinese Communist Party has interfered

with, or had any control over, Hesai’s operations and management.” Id. at 9. This is not

background information—it is an outright denial of wrongdoing presented in the context of a

request for DoD to reconsider its placement of Hesai on the Section 1260H List. In the event DoD

disagrees with the denial and decides to retain Hesai on the List, Plaintiffs may challenge this

distinct final agency action under the APA. In this scenario, the March 2024 submission would,

without question, be included in any administrative record in these hypothetical future

proceedings.



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       Plaintiffs rely heavily on this Court’s prior decision in Oceana Inc., 126 F. Supp. 3d at 114.

See Pls.’ Mot. at 8-9. But, respectfully, Plaintiffs’ reliance on this case is misplaced. In Oceana,

Inc., the Court determined that supplementation of the record was appropriate because the National

Marine Fisheries Service failed to adequately explain the grounds for its conclusion that a strong

positive linear relationship exists between dredge hours and loggerhead takes. 126 F. Supp. 3d at

113-14. The Court, however, reached this conclusion, in part, because of the unique procedural

posture of the case—Oceana did not have the opportunity to submit evidence in conjunction with

comments on a proposed agency action because there was no notice and comment period after

remand to the agency. Id. at 113. Here, on the other hand, DoD does not need to engage in the

notice and comment period because Section 1260H determinations are exempt from this

requirement. See 5 U.S.C. § 553(a)(1) (exempting from notice and comment “military or foreign

affairs function[s] of the United States”). If Plaintiffs’ theory were correct, any agency action

exempt from the notice and comment requirement would be vulnerable to extra-record evidence

being introduced into the administrative record. The Court also reasoned that supplementation

with the proposed declaration was appropriate because it involved a “technical subject matter.”

Oceana, Inc., 126 F. Supp. 3d at 113. Here, in contrast, Hesai simply denies any connection with

the Chinese government, the People’s Liberation Army, or any organization subordinate to the

Central Military Commission of the Chinese Communist Party. See Pls.’ Mot. at 9. The decision

to place Plaintiffs on the Section 1260H List does not implicate the intricacies of the LiDAR

technology that Hesai develops and deploys. See, e.g., Compl. ¶ 14. Indeed, the declaration

proposed to be included in the record, in contrast to the one in Oceana Inc., advances blanket

denials and focuses on purported corporate misinformation campaigns by competitors. See Decl.

of David Yifan Li ¶ 25. Thus, Oceana Inc. is readily distinguished.



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       Finally, Plaintiffs unsuccessfully attempt to comingle their justification for supplementing

the record with their pending due process claim. See Pls.’ Mot. at 10. In particular, Plaintiffs

argue that because Hesai did not receive a pre-publication opportunity to challenge its placement

on the Section 1260H List, the Court should supplement the administrative record with extra-

record evidence that the decision-maker did not consider when making the determination.

Defendants will address Plaintiffs’ due process argument in their opposition and cross-motion for

summary judgement. But suffice it to say, Defendants disagree that Plaintiffs have not been

afforded constitutionally sufficient process—their March 2023 submission, although not a part of

the instant record, will be duly considered by DoD in the context of assessing the propriety of

retaining Hesai on the Section 1260H List. Plaintiffs should not be permitted to litter the instant

administrative record with extra-record evidence when they have ample means to administratively

challenge their placement on the Section 1260H List, as they are presently doing.

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                                       CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ Motion to Complete or, in the

Alternative, Supplement the Administrative Record.


Dated: July 17, 2024                        BRIAN M. BOYNTON
                                            Principal Deputy Assistant Attorney General

                                            LAUREN A. WETZLER
                                            Deputy Director, Federal Programs Branch


                                            /s/ Stephen M. Elliott
                                            STEPHEN M. ELLIOTT (PA Bar# 203986)
                                            Senior Trial Counsel
                                            United States Department of Justice
                                            Civil Division, Federal Programs Branch
                                            1100 L St. NW
                                            Washington, D.C. 20005
                                            Tel: (202) 353-0889 Fax: (202) 616-8470
                                            E-mail: stephen.m.elliott@usdoj.gov

                                            Counsel for Defendants




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